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                                                                        U.S. DISTRICT COURT
                                                                            N.D. OF ALABAMA


                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION



EVAN MILLIGAN, et al.,

             Plaintiffs,                  Case No. 2:21-cv-01530-AMM

              v.                            THREE-JUDGE COURT

WES ALLEN, in his official capacity as
Alabama Secretary of State,

             Defendant.


MARCUS CASTER, et al.,

             Plaintiffs,                  Case No.: 2:21-cv-1536-AMM

              v.

WES ALLEN, in his official capacity as
Alabama Secretary of State,

             Defendant.


    DEFENDANTS’ JOINT RESPONSE TO MILLIGAN AND CASTER PLAINTIFFS’
        OBJECTIONS AND REQUEST FOR PRELIMINARY INJUNCTION
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                                  INTRODUCTION

      This case is about whether Alabama’s 2023 Plan for congressional districts

complies with Section 2 of the Voting Rights Act. Under the Supreme Court’s recent

decision in Allen v. Milligan, it is clear that the 2023 Plan satisfies § 2.

      The Supreme Court reaffirmed that § 2 covers challenges to “racially discrim-

inatory redistricting plan[s].” 143 S. Ct. 1487, 1505 (2023). This Court had con-

ducted “an intensely local appraisal” of Alabama’s 2021 Plan for congressional dis-

tricts and determined that that “electoral mechanism” likely violated § 2. Id. at 1503.

Critically, for Plaintiffs to make that showing, it was not enough for them to merely

note that 25.9% of the voting age population in Alabama is black while only 14.3%

of the State’s congressional districts are majority-black. As the Allen Court made

clear, Section 2 does not “demand[] racial proportionality in districting.” Id. at 1508.

“Forcing proportional representation is unlawful and inconsistent with this Court’s

approach to implementing § 2.” Id. at 1509. That is why the Court applies the Gin-

gles factors in an “exacting” manner: to ensure, as Plaintiffs “themselves empha-

size[d],” that “§ 2 ‘never require[s] adoption of districts that violate traditional re-

districting principles.’” Id. at 1510 (quoting Caster Respondents’ Br. 3).

      Allen focused extensively on the first Gingles factor, which requires a § 2

plaintiff to present an alternative map that “comports with traditional districting cri-

teria” while including an additional majority-minority district. Id. at 1503. The Court



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determined that Plaintiffs had made this showing because they could point to alter-

native maps that were the 2021 Plan’s equal on the legitimate districting principles

of compactness, respecting county lines, and maintaining communities of interest.

Id. at 1504-05. The Court explained that “[d]eviation from” such a “map shows it is

possible that the State’s map has a disparate effect on account of race.” Id. at 1507.

      Under Allen, Plaintiffs’ challenge to the 2023 Plan fails. The 2023 Plan cures

the purported discrimination identified by Plaintiffs. “At the heart of” their case was

how the 2021 Plan split “two of the State’s principal majority-Black communities of

interest—the Black Belt and the City of Montgomery”—while “prioritiz[ing] keep-

ing together White people … in Baldwin and Mobile Counties.” Milligan Appellees’

Br. 1, 5. The 2023 Plan prioritizes the Black Belt to the fullest extent possible—even

better than Plaintiffs’ alternatives—while still managing to preserve long-recog-

nized communities of interest in the Gulf and Wiregrass. Plaintiffs cannot produce

an alternative map with a second majority-black district without splitting at least two

of those communities of interest. Their § 2 challenge to the 2023 Plan fails.

      Plaintiffs try to sidestep this problem by declaring that the 2023 Plan repre-

sents “defiance” of court orders that found a likely § 2 violation in the 2021 Plan.

Plaintiffs are wrong. There are many ways for a State to satisfy § 2’s demand of

“equally open” districts. The 2023 Plan’s fair application of the neutral principles of

compactness, county lines, and communities of interest is one such way, even if it



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does not create proportional representation. Allen, 143 S. Ct. at 1506 (§ 2 does not

“requir[e] racial proportionality in districting”). Plaintiffs now argue that § 2 requires

this Court to adopt a plan that divides communities of interest in the Gulf and Wire-

grass to advance racial quotas in districting, but Allen forecloses that position. Plain-

tiffs had it right the first time: Section 2 “never require[s] adoption of districts that

violate traditional redistricting principles.” Id. at 1510. Because every one of Plain-

tiffs’ alternative plans would violate the traditional redistricting principles given ef-

fect in the 2023 Plan, Plaintiffs’ § 2 claims fail.

                                   BACKGROUND

      A. Plaintiffs’ Challenges to the 2021 Plan.

      In 2021, Alabama enacted a congressional map that largely retained existing

district lines. See Allen, 143 S. Ct. at 1501. Because the 2021 Plan prioritized core

retention, the eighteen core Black Belt counties that had been split between three

districts in the 2011 Plan remained split between those three districts. The Caster

Plaintiffs challenged the 2021 Plan as violative of § 2 of the Voting Rights Act, and

the Milligan Plaintiffs brought § 2 and Equal Protection claims. Id. at 1502.

      “At the heart of” Plaintiffs’ cases was “Alabama’s treatment of the Black

Belt.” Milligan Appellees’ Br. 5. In Plaintiffs’ view, the 2021 Plan was discrimina-

tory because it “crack[ed]” “majority-Black communities of interest—the Black Belt

and the City of Montgomery,” while it “prioritized keeping together White people



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of ‘French and Spanish colonial heritage’ in Baldwin and Mobile Counties.” Id. at

1. Plaintiffs argued that “Defendants chose to preserve one set of communities of

interest—most or all of which are majority white—at the expense of respecting ma-

jority-Black communities of interest like the Black Belt and Montgomery County,”

Milligan Doc. 94 at 15; see also Milligan Appellees’ Br. 24 (Gingles “bar[s] dis-

crimination without requiring proportionality”). The Caster Plaintiffs argued it was

“striking … how HB 1 cracks Alabama’s Black population in the historic Black

Belt” in contrast to how their “Illustrative Plans unite the Black Belt.” Caster Doc.

56 at 9, Doc. 84 at 17. In Plaintiffs’ view, “Alabama’s ‘inconsistent treatment’ of

Black and White communities [wa]s ‘significant evidence’ of a § 2 violation.” Mil-

ligan Appellees’ Br. 39 (quoting Johnson v. De Grandy, 512 U.S. 997, 1015 (1994)).

      As part of the 2021 preliminary injunction proceedings, Plaintiffs introduced

eleven illustrative plans to show that an additional majority-minority district could

be drawn in a geographically compact and “reasonably configured” manner, as re-

quired by the first step of the Gingles test. Allen, 143 S. Ct. at 1503; see Thornburg

v. Gingles, 478 U.S. 30 (1986). When Defendants argued that Plaintiffs’ proposed

second majority-minority district was too sprawling, splitting a community of inter-

est in the Gulf, Plaintiffs responded that their plans “meet or beat” the State’s appli-

cation of traditional districting principles. See Allen v. Milligan Oral Argument Tr.

67 (Milligan counsel), 83 (Caster counsel); PI Tr. 441-42 (“meet or beat the county



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split”); Caster Doc. 48 at 22; Caster Doc. 65 at 5. With respect to splitting the Gulf,

Plaintiffs also countered that while their “plans may prioritize different communities

of interest, … they respect communities of interest generally to at least the same

extent as HB1,” because they kept more of the Black Belt together. Caster Respond-

ents’ Br. 37. In sum, Plaintiffs’ view was that their “illustrative plans, containing

two majority-Black districts, comply with objective traditional redistricting criteria

(compactness, contiguity, and respect for political subdivisions and communities of

interest) as well or better than HB1.” Milligan Appellees’ Br. 20.

      This Court agreed that Plaintiffs’ plans satisfied Gingles 1 and, concluding

the other Gingles factors and the totality-of-circumstances test were met, preliminar-

ily enjoined the Secretary from implementing the 2021 Plan. Singleton v. Merrill,

582 F. Supp. 3d 924, 935 (N.D. Ala. 2022) (three-judge court) (per curiam). On

Gingles 1, the Court noted that the Milligan Plaintiffs’ mapdrawer “articulated a

reasonable explanation” for “prioritiz[ing] some principles over others,” “based on

the [2021] Legislature’s redistricting guidelines.” Id. at 1005. Similarly, the Court

deemed it important that the Caster Plaintiffs’ expert “articulated a reasonable basis

for the choices he made when he was forced to choose between competing redistrict-

ing principles—namely, the choices that the [2021] Plan made.” Id. at 1006.

      The Supreme Court affirmed, comparing the application of traditional district-

ing criteria in the 2021 Plan to Plaintiffs’ illustrative plans. Allen, 143 S. Ct. at 1498.



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“With respect to compactness, for example,” the Court agreed that the Milligan

Plaintiffs’ maps “‘perform[ed] generally better on average than’ did HB1,” and a

map from the Caster Plaintiffs “produced districts roughly as compact as the existing

plan.” Allen, 143 S. Ct. at 1504 (quoting Singleton, 582 F. Supp. 3d at 1009). And

on “political subdivisions, … some of plaintiffs’ proposed maps split the same num-

ber of county lines as (or even fewer county lines than) the State’s map.” Id. (citing

Singleton, 582 F. Supp. 3d at 1011-12). It was “important that at least some of the

plaintiffs’ proposed alternative maps respect county lines at least as well as Ala-

bama’s redistricting plan.” Id. at 1518 n.2 (Kavanaugh, J., concurring). Regarding

splitting the Gulf or splitting the Black Belt communities of interest, the Court rea-

soned that Plaintiffs’ Gingles 1 maps were, “reasonably configured because they

joined together a different community of interest called the Black Belt” even though

they split the Gulf. Id. at 1505. The State, on the other hand, split the Black Belt into

more districts. Id. Under Plaintiffs’ approach and the State’s approach, the Court

concluded, “[t]here would be a split community of interest in both.” Id. at 1505 (cit-

ing Singleton, 582 F. Supp. 3d at 1012-14). The Court explained that when plaintiffs

produce a map that meets or beats the State’s plan on traditional principles, “[d]evi-

ation from that map shows it is possible that the State’s map has a disparate effect

on account of race.” Id. at 1507 (emphasis in original).




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      The Court, however, emphasized that using § 2 to “[f]orc[e] proportional rep-

resentation is unlawful and inconsistent with this Court’s approach to implementing

§ 2.” Id. at 1509 & n.4. In “case after case, we have rejected districting plans that

would bring States closer to proportionality when those plans violate traditional dis-

tricting criteria.” Id. The “exacting requirements” of the Gingles factors ensure that

“§ 2 ‘never require[s] adoption of districts that violate traditional redistricting prin-

ciples.’” Id. at 1510 (quoting Caster Respondents’ Br. 3).

      The Supreme Court was divided on the constitutional issues raised by Plain-

tiffs’ Gingles 1 plans. The State had argued that if race predominated in Plaintiffs’

illustrative plans’ splitting of the Gulf along race-based lines, they could not satisfy

the first Gingles precondition. Eight Justices agreed that race could not predominate.

See id. at 1511-12; id. at 1527 (Thomas, J., dissenting). But the Court divided over

whether race predominated in all of Plaintiffs’ plans.

      The Chief Justice’s plurality opinion agreed that, for Mr. Cooper’s maps spe-

cifically, “evidence of racial predominance …was exceedingly thin” on the prelim-

inary injunction record. Id. at 1511; see also id. at 1529 (Thomas, J., dissenting)

(observing that the plurality’s conclusion on racial predominance was “only in part

and with regard to Mr. Cooper’s plans alone”). Justice Kavanaugh did not join this

portion of the Chief Justice’s opinion, leaving only a four-Justice plurality. See id.

at 1497. The plurality opinion explained that race did not predominate “in light of



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the evidence before” this Court—specifically that “the relevant community of inter-

est here—the Black Belt—was a ‘historical feature’ of the State, not a demographic

one” that “was defined by its ‘historical boundaries’” including Montgomery County

and other ‘rural counties.’” Id. at 1511 n.5. According to the Court, “[t]he District

Court treated the Black Belt as a community of interest for the same reason.” Id. The

plurality also explained that a plaintiff need not be “entirely ‘blind’ to race” at Gin-

gles 1, consistent with “[t]he line that we have long drawn … between consciousness

and predominance.” Id. at 1511-12.

      Justice Thomas, for the four dissenters, agreed that “plaintiffs could not prove

the first precondition of their statewide vote-dilution claim … by drawing an illus-

trative map in which race was predominant.” Id. at 1527. In the dissent’s view, “the

illustrative maps here are palpable racial gerrymanders.” Id. The dissent noted the

“manifest absence of any nonracial justification for the new District 1,” while there

was a “clear intent to ensure that both Districts 2 and 7 hit their preordained racial

targets.” Id. The dissent concluded that, “[i]f the State did this, we would call it a

racial gerrymander, and rightly so.” Id. at 1528.

      B. The Governor Calls a Special Session Called to Enact New Redis-
         tricting Legislation.

      1. After the Supreme Court affirmed the preliminary injunction of Alabama’s

2021 Plan, the Governor called a special session of the Legislature to enact new

congressional redistricting legislation. See Milligan doc. 173-1. The Redistricting


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Committee held public hearings during which members of the public, the Legisla-

ture, and parties to these cases participated. See Ex. A (June 27 Reapportionment

Comm. Hr’g Tr.); Ex. B (July 13, 2023 Reapportionment Comm. Hr’g Tr.).1 Wit-

nesses from across the State testified. For example, Mike Schmitz—the former

mayor of Dothan and a local business owner—testified about the small communities

that typify the Wiregrass region in the southeast of the State and the importance of

keeping those communities together.2 Ex. B at 24:14-27:3; see also id. at 25:14-

25:21 (“[W]e have created partnerships that have lasted 50 and 100 years that have

helped our communities grow.”); accord id. at 27:20-22 (testimony of Jeff Brandon,

CEO of Flowers Hospital in Dothan: “I believe that our economy is strong today

because of the things that Mayor Schmitz just mention[ed].”). Mayor Schmitz testi-

fied about how important it is to the region that a congressional representative for

the region continue to advocate for the Fort Novosel and Maxwell military bases.

Ex. B at 26:5-25. He further opined that dividing up Wiregrass counties and pairing

them with counties on the opposite side of the State could cause the Wiregrass com-

munity of interest and Houston County specifically to “lose our voice and lose our

vote.” Id. at 26:25-27:2.



1
  Exhibits C through H and N through P to this Motion were exhibits considered by the Reappor-
tionment Committee at its July 13, 2023 hearing and were attached to that transcript.
2
  See also Ala. Joint Permanent Leg. Comm. On Reapportionment Mtg., July 13, 2023, THE ALA-
BAMA      CHANNEL, at 36:36-40:04, https://alabamachannel.ompnetwork.org/embed/ses-
sions/273827/alabama-joint-permanent-legislative-committee-on-reapportionment.

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       Patrick McWilliams from Baldwin County offered a similar perspective from

the other side of the State. See supra n.1 at 1:41:20-1:44:17.3 He discussed the needs

of the Gulf counties of Mobile and Baldwin, including funding for the University of

South Alabama (a large public university with campuses in both Mobile and Bald-

win Counties) and the Coast Guard Aviation Training Center in Mobile. See id. at

1:43:19-40. He also testified about the counties’ shared plans for a bridge that would

span the bay between them. See id. at 1:42:39-1:43:00. And throughout his testimony

on these points, he questioned why such projects might matter to someone in Dothan

and raised the point that they must necessarily compete with comparable institutions

in the Wiregrass (e.g., Troy University and Fort Novosel). Id. at 1:42:39-1:43:40.

The Legislature also had before it other evidence about the multi-billion-dollar

bridge project. See Ex. C (SARPC 5-Year Update) at 30.4 The Alabama Department

of Transportation is aiming to secure more than $2 billion in federal grants and loans

for the project. Id.

       These views were echoed by other evidence that the Legislature had before it.

The Legislature received hundreds of pages of materials addressing the community

of interest in the Gulf. For example, the Legislature considered a statement


3
  The entire hearing has not yet been transcribed, but a recording is available at the link cited supra
n.2.
4
  Also available at sarpc.org under the “Links” heading. See Lamonte v. City of Hampton, Ga., 576
F. Supp. 3d 1314, 1327 n.12 (N.D. Ga. 2021) (“It is established law that a court may take notice
of government websites.” (citations omitted); Ryzhov v. Mayorkas, 634 F. Supp. 3d 1107, 1111-12
(S.D. Fla. 2022) (same) (collecting cases).

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Representative Adline Clarke, a Democrat from Mobile, made to a reporter in 2021:

“I consider Mobile and Baldwin counties one political subdivision and would prefer

that these two Gulf Coast counties remain in the same congressional district because

government, business and industry in the two counties work well together—with our

congressman—for the common good of the two counties.” Ex. D (AL.com, “How

South Alabama could be split up due to Baldwin County’s growth”). Those views

were confirmed by other reports. For example, recent reports from the Alabama Port

Authority showed that the Port of Mobile supported 312,896 direct, induced, indi-

rect, and related jobs in the state of Alabama in fiscal year 2021. Ex. E (Alabama

Port Authority 2021 Economic Impact) at 8.5 The state agency reported that “[t]he

total economic value to the state of Alabama resulting from the marine cargo activity

at the public and private marine terminals in 2021 is estimated at $85 billion.” Ex. E

at 10. Economic activity at the Port supports 21,020 direct jobs, where 42% of work-

ers reside in Mobile City, 39% reside in Mobile County (excluding Mobile City),

and 13% live in Baldwin County. See id. at 23. And the Port’s success has spurred

the growth of major industry across the bay in Baldwin County, See Ex. C at 66.

         All of this is made possible by substantial federal funding—critical to the

Port’s success and jobs for workers from both Mobile and Baldwin. A recent finan-

cial report from the Port documents that, in fiscal year 2020, the U.S. Army Corps


5
    Also available at https://www.alports.com/economic-impact/.

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of Engineers allocated $274.3 million to a recent harbor construction plan; in March

2022, the U.S. Department of Transportation awarded $100 million to the Port Au-

thority and Mobile Airport Authority to increase efficiency of freight movements by

air, land, and sea; and later that month, the Port Authority “was awarded another

$200 million in federal appropriations. Ex. F (Alabama State Port Authority Annual

Comprehensive Financial Report) at 18.6 In December 2022, another $200 million

in federal spending grants were awarded to the Port Authority. Id.

          The Legislature also considered the unique transportation infrastructure that

binds Baldwin and Mobile Counties together. In addition to the bridge project men-

tioned above, the counties have been providing inter-county public transportation

options for years. Ex. G (Baldwin Regional Area Transit System Schedule); Ex. H

(Bayline Connects Mobile-Baldwin County Public Transit Systems).

          The Legislature also had before it an extensive five-year Comprehensive Eco-

nomic Development Strategy Plan developed by the South Alabama Regional Plan-

ning Commission (SARPC). See Ex. C. The local governments of Mobile, Baldwin,

and Escambia Counties, as well as twenty-nine municipalities within those counties,

work together through the Commission with the congressional representative from

District 1 to carry out comprehensive economic development planning for the region

in conjunction with the U.S. Economic Development Administration. Id. at 4. The


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    Also available at https://www.alports.com/financials/.

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SARPC is a regional planning commission that was created under state law more

than 50 years ago. Ex. I (SARPC Homepage) at 4. Pursuant to Alabama Code § 11-

85-51(b), factors the Governor considered when creating such a regional planning

commission included “community of interest and homogeneity; geographic features

and natural boundaries; patterns of communication and transportation; patterns of

urban development; total population and population density; similarity of social and

economic problems.” The community of interest that led to the creation of the

SARPC fifty years ago remains today. The SARPC is addressing numerous areas of

concern unique to the Gulf region, including transportation, industry, environmental,

and educational concerns. See Ex. C.

      2. The Milligan and Caster Plaintiffs also submitted their own proposal to the

Redistricting Committee. Their plan would split Mobile County and divide the Gulf

between Districts 1 and 2 on race-based lines. It would have split seven counties,

including three within District 2 alone—Mobile, Clarke, and Houston Counties. Mil-

ligan Doc. 200-7 at 4. The splits of those counties show the proposal’s particularly

stark racial divide between the much more heavily black population scooped up by

new District 2 and the majority white population left behind in new District 1. For




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example, while 49.6% of Mobile

County’s overall voting age popula-

tion is drawn into District 2, 72% of

the black voting age population of the

county is added to the district. On the

other end of the District 2, 31% of

Houston County’s total voting age

population is added, but that popula-

tion represents 60.8% of black voting

age residents in the county. See Ex. J

(Bryan Supplemental Report) at 33.

      Plaintiffs’ lead argument for

their alternative plan was that it “con-

tains two districts that ‘perform’ con-

sistently for Black voters in primary and general election.” Milligan Doc. 200-7 at

2. They also noted that their plan “remedies the cracking of the Black Belt commu-

nity of interest, identified by the courts, by keeping the eighteen ‘core’ Black Belt

counties together within” two districts. Id. The BVAP for Plaintiffs’ proposed Dis-

tricts 2 and 7 would be roughly 50% and 54% respectively. Ex. J at 16. Counsel for

the Singleton Plaintiffs argued that the § 2 Plaintiffs’ plan would likely violate the



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Equal Protection Clause for being too race-based. Ex. A at 72:14-23 (“I don’t believe

it’s going to be able to pass strict scrutiny … [b]ecause it splits counties along racial

lines to achieve a racial target of 50 percent plus one.”).

      C. The State Enacts the 2023 Plan.

      On July 21, 2023, the Legislature passed and the Governor signed into law

new redistricting legislation with Act No. 2023-563. See Ex. K. The 2023 Act re-

peals the 2021 Plan and replaces it with the 2023 Plan. The Act’s legislative findings

discuss the traditional principles given effect in the 2023 Plan:

      The Legislature’s intent is … to promote the following traditional re-
      districting principles, which are given effect in the plan created by this
      act:
             a. Districts shall be based on total population as reported by the
             federal decennial census and shall have minimal population de-
             viation.
             b. Districts shall be composed of contiguous geography, meaning
             that every part of every district is contiguous with every other
             part of the same district.
             c. Districts shall be composed of reasonably compact geography.
             d. The congressional districting plan shall contain no more than
             six splits of county lines, which is the minimum number neces-
             sary to achieve minimal population deviation among the districts.
             Two splits within one county is considered two splits of county
             lines.
             e. The congressional districting plan shall keep together commu-
             nities of interest, as further provided for in subdivision (4).
             f. The congressional districting plan shall not pair incumbent
             members of Congress within the same district.

Ala. Code § 17-14-70.1(3).



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      Subsection 17-14-70.1(4) elaborates on the 2023 Legislature’s approach to

communities of interest: the redistricting plan will keep together the Black Belt, the

Gulf Coast, and the Wiregrass regions to the fullest extent possible. Id. § 17-14-

70.1(4)(d). The Act states that these regions fit the definition of a community of

interest, meaning “a defined area of the state that may be characterized by, among

other commonalities, shared economic interests, geographic features, transportation

infrastructure, broadcast and print media, educational institutions, and historical or

cultural factors.” Id. § 17-14-70.1(4)(a). The Act stated that these particular regions

“shall be kept together to the fullest extent possible”—that is, “[i]f it is necessary to

divide a community of interest between congressional districts to promote other tra-

ditional districting principles like compactness, contiguity, or equal population, di-

vision into two districts is preferable to division into three or more districts.” Id.

§ 17-14-70.1(4)(c)-(d).

      The Act then details the counties that make up the Black Belt, Gulf, and Wire-

grass communities of interest along with legislative findings about each region. First,

the Act explains that the Black Belt “shall be placed into two reasonably compact

districts,” which is “the fewest number of districts in which this community of inter-

est can be placed.” Ala. Code § 17.14-70.1(4)(e)(4). Placing the Black Belt into two

districts was a change from the 2021 Plan, which followed earlier redistricting plans

in placing the Black Belt into three districts.



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      The 2023 Plan flows from these traditional principles of compactness, county

lines, and communities of interest.




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See Milligan Doc. 200-1. As Allen instructed the State, 143 S. Ct. at 1505, core re-

tention takes a back seat to the goal of curing the division of the Black Belt identified

by Plaintiffs. Not a single Black Belt county is split between districts. Montgomery

County is kept whole along with other eastern Black Belt counties in District 2. Sev-

eral of these counties kept together in District 2 are also part of the Wiregrass region

and are combined with other Wiregrass counties to form District 2, consistent with

the Act’s requirement that the Wiregrass region be kept together. Id. § 17-14-

70.1(4)(d). The western Black Belt counties make up nearly all of District 7. District

7 also includes all but one of the five additional counties that are sometimes included

in the Black Belt (Washington, Clarke, Monroe, Conecuh, and Escambia). Only Es-

cambia is placed in District 1 to meet equal population and contiguity requirements.

      The changes between the 2021 and 2023 Plans are shown below with the 2023

lines superimposed on the 2021 Plan:




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      In this way, the 2023 Plan improves on the 2021 Plan and all of Plaintiffs’

alternative plans by unifying the Black Belt while also respecting the Gulf and Wire-

grass communities of interest. Both Gulf counties are maintained in District 1. Of

the nine Wiregrass counties, eight are wholly within District 2, and the ninth (Cov-

ington) is necessarily split between Districts 1 and 2 to allow District 1 to meet equal

population and contiguity requirements without having to split any “sometimes”

Black Belt counties or take any others besides Escambia out of District 7.

      On county lines, the Act states that they are to be split no more than six times,

and the 2023 Plan meets that requirement. Six county line splits are the minimum

number necessary to reach equal population among the districts.

      Compactness likewise took priority over core retention in the 2023 Plan.

Shown above, the 2023 Plan is overall more compact based on the “eyeball” test.

And shown below, the 2023 Plan rates better overall on the Reock and Polsby-Pop-

per tests—two common measures of compactness:

                             Reock             Polsby-Popper           Cut Edges

     2021 Plan                0.389                 0.222                 3230

     2023 Plan                0.411                 0.282                 3246


Ex. L (Trende Expert Report) at 9-11. And the least compact district under the 2023

Plan is more compact than the least compact district in the 2021 Plan.




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                                        Reock          Polsby-Popper

               2021 Plan         0.248 (District 1)    0.154 (District 6)

               2023 Plan         0.285 (District 5)    0.185 (District 6)


Id. at 9-10.

       The 2023 Plan’s commitment to simultaneously keeping the Black Belt, Gulf,

and Wiregrass communities of interest together to the fullest extent possible resulted

not only in increased compactness but also changes in the demographics of Districts

2 and 7 from the 2021 Plan. District 7 had a Black Voting Age Population of 55.26%

in the 2021 Plan. District 7 now has a BVAP of 50.65%. The change is the result of

the 2023 Plan’s unifying of Montgomery County in District 2. District 2 had a BVAP

of 30.12% in the 2021 Plan. District 2 now has a BVAP of 39.93%, an increase of

nearly 33%. Ex. J at 11, 15.

       C. Plaintiffs Challenge the 2023 Plan.

       Plaintiffs now return to this Court to challenge the 2023 Plan. Plaintiffs have

framed their challenges as about “[w]hether a remedial district,” by which they mean

the 2023 Plan, “performs for a minority group.” Caster Objections 7; Milligan Ob-

jections 1-2. Their objections target the racial makeup of the 2023 Plan, in particular

District 2’s. The Caster Plaintiffs say that “[t]he demographic statistics” of the plan

“speak for themselves.” Caster Objections 7. The Milligan Plaintiffs say that the




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new District 2 “offers no more opportunity than did the old CD2” based on election

results. Milligan Objections 13-14.

                                    ARGUMENT

I.    The 2023 Plan Remedies the Likely Section 2 Violation Because the New
      Plan Complies with Section 2.

      A. The Court’s August 1 order instructs that the forthcoming remedial hearing

will be “limited in scope … to the essential question whether the 2023 Plan complies

with the order of this Court, affirmed by the Supreme Court, and with Section Two

of the Voting Rights Act.” Milligan Doc. 203 at 3-4 (emphasis added). The Court

instructs the parties that they “may rely on evidence adduced in the original prelim-

inary injunction proceedings” for assertions that the 2023 Plan is or is not a sufficient

remedy, but the Court will not “relitigate the issue of that likely Section Two viola-

tion” regarding the 2021 Plan. Id. at 4. The Court confirms that “Plaintiffs bear the

burden to establish that the 2023 Plan does not remedy the likely Section Two vio-

lation that this Court found and the Supreme Court affirmed.” Id.

      Defendants’ view, consistent with Supreme Court and Eleventh Circuit prec-

edent, is that Plaintiffs do not successfully bear their burden unless they show at the

upcoming hearing that the 2023 Plan likely does not comply with Section 2. That is

because precedent establishes that a State completely remedies a Section 2 violation

(or here a likely Section 2 violation) by enacting any new redistricting legislation

that complies with Section 2. See McGhee v. Granville Cnty., 860 F.2d 110, 115 (4th


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Cir. 1988); Dillard v. Crenshaw County, 831 F.2d 246, 250 (11th Cir. 1987); see

also Abbott v. Perez, 138 S. Ct. 2305, 2324-25 (2018); Wise v. Lipscomb, 437 U.S.

535, 540 (1978) (op. of White, J.). As this Court previously recognized, newly en-

acted redistricting legislation becomes “the governing law,” and remains so “unless

it … is challenged and found to violate” federal law. Singleton, 582 F. Supp. 3d at

1032 (quoting Wise, 437 U.S. at 540). After a new redistricting plan has been en-

acted, the district court “consider[s] whether the proffered remedial plan is legally

unacceptable because it violates anew constitutional or statutory voting rights—that

is, whether it fails to meet the same standards applicable to an original challenge of

a legislative plan in place.” Covington v. North Carolina, 283 F. Supp. 3d 410, 424

(M.D.N.C.), aff’d in part, rev’d in part, 138 S. Ct. 2548 (2018) (quoting McGhee,

860 F.2d at 115). If the new plan “would have been upheld at the liability stage of

the case, [it] must be upheld now.” Jeffers v. Clinton, 756 F. Supp. 1195, 1199 (E.D.

Ark. 1990), aff’d, 498 U.S. 1019 (1991). Holding Plaintiffs to that burden regarding

the 2023 Plan does not entail re-litigating the 2021 Plan.

      That makes these remedial proceedings distinct from those in which there is

no new legislation and instead only a court-drawn plan. Compare, e.g., United States

v. Dallas Cnty. Comm’n, 850 F.2d 1433, 1437 (11th Cir. 1988) (remedial hearing

for court-selected plan). For when the State enacts a new plan, the “district court is

precluded from substituting even what it considers to be an objectively superior plan



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for an otherwise constitutionally and legally valid plan that has been proposed and

enacted by the appropriate state governmental unit.” Miss. St. Chapter, Operation

Push. v. Mabus, 932 F.2d 400, 407 (5th Cir. 1991). The 2023 Plan “is entitled to

‘great deference’ and this Court may not inquire whether some other remedy might

be better if the Defendant’s remedy is ‘legally acceptable.’” United States v. Euclid

City Sch. Bd., 632 F. Supp. 2d 740, 750 (N.D. Ohio 2009) (quoting McGhee, 860

F.2d at 115, and collecting cases); see also Jacksonville Branch of NAACP v. City

of Jacksonville, No. 3:22-CV-493-MMH-LLL, 2022 WL 17751416, at *11 (M.D.

Fla. Dec. 19, 2022) (“[A] court may not ... simply substitute its judgment of a more

equitable remedy for that of the legislative body.”); see also GRACE, Inc. v. City of

Miami, No. 1:22-CV-24066-KMM, 2023 WL 4602964, at *5 (S.D. Fla. July 18,

2023) (affording “Remedial Plan … a presumption of good faith”).

      Applied here, Plaintiffs must prove that the 2023 Plan is not “equally open.”

52 U.S.C. § 10301. Whether the 2023 Plan complies with § 2 requires “‘an intensely

local appraisal’ of the electoral mechanism at issue”—the 2023 Plan. Allen, 143 S.

Ct. at 1503 (quoting Gingles, 478 U.S. at 79). That requires arguments and evidence

about the 2023 Plan, not only the 2021 Plan. Indeed, the Eleventh Circuit recognized

in a Section 2 remedial case that “[t]he evidence showing a violation in an existing

election scheme may not be completely coextensive with a proposed alternative.”

Dillard, 831 F.2d at 250. And the requirement that courts “[]completely assess[] the



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differences between the new and old proposals,” id., applies all the more when the

new plan is not just a defendant’s proposal, but is newly enacted law. See Wilson v.

Jones, 130 F. Supp. 2d 1315, 1321 (S.D. Ala. 2000) (“[A] legislative body is entitled

to considerable deference in the manner it chooses to remedy problems with its dis-

tricting scheme.”). Because Plaintiffs have not shown that the 2023 Plan likely vio-

lates Section 2, they have not shown that the 2023 Plan fails to remedy the repealed

plan’s likely violation.

      That required showing is consistent with this Court’s 2022 preliminary in-

junction order. To be sure, the Court opined that “any remedial plan will need to

include two districts in which Black voters either comprise a voting-age majority or

something quite close to it.” Singleton, 582 F. Supp. 3d at 936. That assessment,

however, was “based on the [2021] Legislature’s redistricting guidelines” and

“choices that the [2021] Plan made,” all of which came before the Legislature suc-

cessfully passed new legislation. Id. at 1005-06. Thus, had the 2023 Legislature con-

tinued to apply the same principles, including adhering to core retention over recog-

nized communities of interest, see Milligan Appellees’ Br. 39, perhaps Plaintiffs’

alternative plan’s majority-black district would have to be drawn against the re-ap-

plication of those principles in that way. But the 2023 Legislature was not bound by




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its predecessor to apply the 2021 principles in the same manner.7 The 2023 Legisla-

ture opted instead to more fully and fairly apply traditional principles blessed by the

Allen Court to address the purportedly “Discriminator[y] Cracking” of “the Black

Belt” for the sake of core retention. Id. at 5; see Allen, 143 S. Ct. at 1505. This Court

had “found that HB1 cracks majority-Black communities of interest” in the Black

Belt and Montgomery (Milligan Appellees’ Br. 16) in a way that resulted in discrim-

ination on account of race, and the 2023 Legislature remedied that discrimination by

applying its traditional principles as fairly to those communities as to the Gulf and

the Wiregrass. Unless there is some way to create an additional majority-black dis-

trict without violating these “traditional redistricting principles,” Section 2 is satis-

fied, and the past likely violation is remedied. Allen, 143 S. Ct. at 1510.

       Moreover, in enacting the 2023 Plan, the State did so against the well-trodden

“competing hazards of liability,” Abbott, 138 S. Ct. at 2315, with dueling claims

from the Singleton Equal Protection Clause Plaintiffs and the Milligan and Caster

§ 2 Plaintiffs. As in every State, Alabama could not remedy a likely § 2 violation

with a plan that itself violated the Equal Protection Clause or other federal or State

law. See, e.g., Cooper v. Harris, 581 U.S. 285, 299 (2017) (racial gerrymandering

liability after legislators “repeatedly told their colleagues that District 1 had to be


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  Indeed, the 2021 Legislature could not bind the 2023 Legislature. United States v. Winstar Corp.,
518 U.S. 839, 873 (1996) (“[O]ne legislature cannot abridge the powers of a succeeding legisla-
ture.”).

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majority-minority, so as to comply with the VRA”). Just last redistricting cycle, Al-

abama was found to have violated the Equal Protection Clause after it had attempted

to comply with the VRA. See Ala. Legis. Black Caucus v. Alabama, 231 F. Supp. 3d

1026, 1348-49 (M.D. Ala. 2017).8 Moreover, States must be particularly wary of

“violations of the fourteenth or fifteenth amendment,” lest attempts to comply with

Section 2 create the risk of bail-in under Section 3. 52 U.S.C. § 10302(c). The safest

route then past these “competing hazards of liability,” Abbott, 138 S. Ct. at 2315,

was for the Legislature to satisfy § 2 by answering Plaintiffs’ neutral call to “em-

ploy[] the same line-drawing standards in minority [communities of interest] as it

used elsewhere,” Milligan Appellees’ Br. 29. There was no need to prioritize racial

quotas over “nonracial communities of interest.” League of United Latin Am. Citi-

zens v. Perry, 548 U.S. 399, 433 (2006) (LULAC). Section 2 “never requires” that.

Allen, 143 S. Ct. at 1510.

       Thus, if Plaintiffs cannot show that the 2023 Plan likely violates § 2, the Court

must find, at least as a preliminary matter, that the 2023 Plan “‘completely

remed[ies] the Section 2 violation,’” Milligan Obj. 10; accord Caster Obj. 6. As

Dillard explains, a court cannot merely “t[ake] the findings that made the original

electoral system infirm and transcrib[e] them to the new electoral system.” 831 F.2d


8
 Plaintiffs then used that Equal Protection Clause violation, induced by Section 5 of the VRA, as
evidence of a “recent instance[] of official discrimination” warranting Section 2 VRA liability.
Singleton, 582 F. Supp. 3d at 1020 (citing ALBC, 231 F. Supp. 3d at 1348-49).

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at 249. “The evidence showing a violation in an existing election scheme may not

be completely coextensive with a proposed alternative.” Id. at 250. While Dillard

ultimately concluded that the replacement election scheme was not permissible, that

was based on a pages-long appraisal of the new scheme, which required an assess-

ment of “the differences between the new and old proposals.” Id. at 250-53.

      Plaintiffs’ 2023 burden is consistent with the nature of § 2. Section 2’s “ex-

acting” standard requires “an intensely local appraisal of the electoral mechanism at

issue”—that is, the 2023 Plan. Allen, 143 S. Ct. at 1503, 1510 (quotation marks

omitted). So in Allen, the Court assessed Plaintiffs’ arguments not in a vacuum but

instead against the particulars of the 2021 Plan. See, e.g., 143 S. Ct. at 1504 (observ-

ing Plaintiffs’ plans’ compactness “performed generally better on average than did

HB1 [the 2021 Plan]”). Likewise, the § 2 analysis of Georgia’s plan in Abrams re-

quired accounting for “Georgia’s traditional districting policies” in the challenged

legislation. Abrams v. Johnson, 521 U.S. 74, 91 (1997). And the § 2 challenge to the

City of Rome’s districting plan considered “Rome’s … discernable districting prin-

ciple[s].” Askew v. City of Rome, 127 F.3d 1355, 1377 n.7 (11th Cir. 1997). In short,

just as the reasonableness of Plaintiffs’ plans challenging the 2021 Plan were as-

sessed in light of how the 2021 Plan gave effect to principles of compactness, com-

munities of interest, and others, any § 2 challenge to the 2023 Plan must be assessed

in the light of how the 2023 Plan gives effect to those principles.



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      B. A critical fact sets this case apart from other remedial proceedings: the

Governor called a special session, during which the Legislature successfully re-

pealed the 2021 Plan and replaced that law with new redistricting legislation. As the

caselaw above shows, such legislation is entitled to the presumption of legality and

should “be the governing law unless it, too, is challenged and found to violate federal

law.” Singleton, 582 F. Supp. 3d at 1032 (quotation marks omitted). A remedial

hearing in such circumstances cannot be limited to only the question whether Dem-

ocrats are likely to win in two districts under the 2023 Plan. See, e.g., Allen, 143 S.

Ct. at 1503 (“‘intensely local appraisal’ of the electoral mechanism at issue”); Ab-

bott, 138 S. Ct. at 2325; LULAC, 548 U.S. at 433; Dillard, 831 F.3d at 249-50.

      In particular, the 2023 Plan cannot be judged against only findings of fact and

conclusions of law from the earlier proceedings without a full assessment of the leg-

islative record preceding the adoption of the 2023 Plan and evidence Defendants

hope to offer in these proceedings and in the attachments to this brief. Plaintiffs can-

not simply “t[ake] the findings that made the original electoral system infirm and

transcribe[] them to the new electoral system” as a basis for enjoining the 2023 Plan.

Dillard, 831 F.2d at 249. That is especially so here, where earlier findings were made

as part of preliminary injunction proceedings assessing only the “likelihood of suc-

cess.” Univ. of Tex. v. Camenisch, 451 U.S. 390, 394 (1981). Preliminary injunctions

are often decided on “procedures that are less formal and evidence that is less



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complete than in a trial on the merits.” Id. at 395. A Court’s “findings of fact and

conclusions of law made by a court granting a preliminary injunction are not binding

at trial on the merits.” Id. at 394. It follows that preliminary findings do not bind the

Legislature in enacting new redistricting legislation pursuant to a new legislative

record, with extensive testimony and materials about the communities of interest the

2023 Plan prioritizes. That legislation is entitled to the presumption of good faith

and remains in place unless it violates federal law. See Abbott, 138 S. Ct. at 2325.

II.   The 2023 Plan Complies with the Voting Rights Act, and Plaintiffs Will
      Not Be Able to Produce a Reasonably Configured Alternative Map.

      On the merits, Plaintiffs argue that the 2023 Plan fails to comply with § 2 by

failing to create two majority-black districts or something close to it. Caster Objec-

tions 8; Milligan Objections 6. For that argument to succeed, Plaintiffs must show

that there is a “reasonably configured” alternative remedy that would also maintain

communities of interest in the Black Belt, Gulf, and Wiregrass, on par with the 2023

Plan. See LULAC, 548 U.S. at 433.

      Plaintiffs disagree, and that disagreement reveals a new post-Allen position.

When challenging the 2021 Plan, Plaintiffs argued that the 2021 Plan’s “cracking”

of the Black Belt was “the heart” of their case. Milligan Appellees’ Br. 5. But now,

even though the 2023 Plan unified the Black Belt, Plaintiffs object that the 2023 Plan

still does not comply with § 2. Their objections boil down to one thing: the Legisla-

ture didn’t do enough to prioritize race over neutral principles and thereby ensure


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that Democrats can reliably win in at least two congressional districts in Alabama.

Caster Objections 7. The lesson from Allen is that Section 2 requires Alabama to

avoid discriminatory effects in how it treats communities of interest, even if that

means sacrificing core retention. 143 S. Ct. at 1505. But neither this Court nor the

Supreme Court has ever said that § 2 requires the State to subordinate “nonracial

communities of interest” in the Gulf and Wiregrass to Plaintiffs’ racial goals. LU-

LAC, 548 U.S. at 433. Just the opposite—the very premise of this Court’s earlier

conclusion that race did not predominate, which was later relied upon by the Su-

preme Court, was that the Black Belt community of interest was a nonracial com-

munity of interest based on its “‘historical boundaries’” as “a ‘historical feature’ of

the State, not a demographic one.” Allen, 143 S. Ct. at 1511 n.5. Plaintiffs’ new

argument that uniting the Black Belt is not enough, and that distant areas of the State

must be split and attached to the Black Belt based on race, guts that premise. It

should be rejected, and the 2023 Plan and its reunification of the historical bounda-

ries of the Black Belt should be accepted.

      For Plaintiffs to be entitled to an order enjoining the 2023 Plan, they must

show it likely violates Section 2, but Plaintiffs have failed to make their showing at

step one of the Gingles test. As Plaintiffs have described that requirement, they must

show that their plans “meet or beat” the traditional principles of compactness, main-

taining communities of interest, and maintaining political subdivisions that are



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adhered to in the State’s plan. See, e.g., Allen Oral Argument Tr. 67, 83. Their failure

to do so means Plaintiffs have failed to bear their burden of showing that the 2023

Plan does not remedy the likely § 2 violation.

      In conducting that “intensely local appraisal” anew for the 2023 Plan, the Su-

preme Court staked this guidepost: Section 2 “never require[s] adoption of districts

that violate traditional redistricting principles.” Allen, 143 S. Ct. at 1510 (emphasis

added) (quoting Caster Respondents Br. 3). It is a guidepost the Court has empha-

sized “in case after case.” Id. at 1509 n.4. Those traditional redistricting principles

include keeping together communities of interest, keeping districts compact, keeping

counties or municipalities together in districts, and the like, while excluding core

retention for purposes of defeating a § 2 claim. See Abrams, 521 U.S. at 91; Allen,

143 S. Ct. at 1505; see, e.g., Ala. Code § 17-14-70.1(3), (4). Were it otherwise, plain-

tiffs could prevail with maps that simply maximize majority-minority districts—an

approach that the Court has “expressly condemned.” See Wisc. Legislature v. Wisc.

Elections Comm’n, 142 S. Ct. 1245, 1249 (2022).

      Accordingly, for the first Gingles precondition, the question is whether “the

specific illustrative map[] that a plaintiff adduces” “comport[s] with” the traditional

redistricting principles in the State’s plan, not traditional redistricting principles in

the abstract. Allen, 143 S. Ct. at 1505, 1507. If it does not, then “[d]eviation from

that map” cannot show the “possibility” of the sort of impermissible “effect on



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account of race” that § 2 condemns. Id. At most, deviation would show effects on

account of “traditional redistricting principles,” the violation of which § 2 “never

require[s].” Id. at 1510. That’s why a proposed map that violates traditional princi-

ples like respect for nonracial communities of interest “is not reasonably compact.”

See LULAC, 548 U.S. at 433.

      Applied in Allen, the majority concluded that Plaintiffs were likely to succeed

in their claim that their maps could meet or beat Alabama’s 2021 Plan on those tra-

ditional redistricting principles—not that Plaintiffs had beat Alabama in hitting a

racial target. 143 S. Ct. at 1504-05. And what was critical was not the Redistricting

Committee’s recitation of traditional principles in its Guidelines, but how those tra-

ditional principles were given effect in the 2021 Plan. See Milligan Appellees’ Br.

20 (noting that this Court “found that Plaintiffs’ illustrative plans, containing two

majority-Black districts, comply with objective traditional redistricting criteria

(compactness, contiguity, and respect for political subdivisions and communities of

interest) as well or better than HB1 [the 2021 Plan]”).

      The focus now is on the 2023 Plan and whether Plaintiffs can produce an al-

ternative map that equals the 2023 Plan on the traditional principles that Allen reaf-

firmed were the basis of the § 2 analysis. See Singleton, 542 F. Supp. 3d at 1006

(“testimony that [expert] felt it was important to ‘meet or beat’ the Plan’s perfor-

mance with respect to some race-neutral redistricting criteria”); id. at 979 (same); id.



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at 1012 (same); id. at 1006 (Cooper “articulated a reasonable basis for the choices

he made when he was forced to choose between competing redistricting principles—

namely, the choices that the Plan made.”). Plaintiffs cannot do so with respect to (1)

communities of interest, (2) compactness, and (3) county splits. Indeed, the Milligan

Plaintiffs appear to concede that their maps are “disqualif[ied]” under the districting

principles given effect in the 2023 Plan, Milligan Obj. 15, and “the essential design

features of Mr. Cooper’s maps are indistinguishable from Dr. Duchin’s,” Allen, 143

S. Ct. at 1529 (Thomas, J., dissenting).

      1. Communities of Interest in the 2023 Plan

      The 2023 Plan resolves the concerns about communities of interest that Plain-

tiffs said was “the heart” of their challenge to the 2021 Plan. See Milligan Appellees’

Br. 5-6. They argued that the 2021 Plan was “‘cracking’ [the] majority-Black com-

munities” of Montgomery and the Black Belt, while “prioritiz[ing] keeping together

White people … in Baldwin and Mobile Counties.” Id. at 21; Caster Respondents’

Br. 15 (“The [1970] plan splintered the Black Belt among Districts 1, 2, 3, and 7.

Under this plan and its successor, voters elected white candidates to every congres-

sional seat in every election.”) (citation omitted). The Supreme Court agreed. The

Allen Court concluded that the approach Plaintiffs’ maps took to communities of

interest was on par with the State’s 2021 Plan. The majority said it was not persuaded

that the Gulf was a community of interest based on the preliminary injunction record.



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143 S. Ct. at 1505. That would surprise Alabamians and has been answered by the

legislative record for the 2023 Plan. Supra pp. 10-13; accord Allen, 143 S. Ct. at

1526 (Thomas, J., dissenting) (“It is indisputable that the Gulf Coast region is the

sort of community of interest that the Alabama Legislature might reasonably think a

congressional district should be built around.”).

      In Allen, the majority went on to explain that even if the Gulf was a commu-

nity of interest, Plaintiffs’ plans were still on par because Plaintiffs’ plans, while

splitting the Gulf, “joined together a different community of interest called the Black

Belt.” 143 S. Ct. at 1015. The 2021 Plan, on the other hand, unnecessarily split the

Black Belt into more than two districts while keeping the Gulf intact. Id. In other

words, “[t]here would be a split community of interest in both.” Id.

      Not anymore. The 2023 Plan answers Plaintiffs’ call to unify the Black Belt

into two districts, without sacrificing indisputable communities of interest in the

Gulf and Wiregrass regions. So, contrary to the Milligan Plaintiffs’ assertion, it is

Plaintiffs who are “cherry-picking” a single community of interest at the expense of

two others because of a preferred racial outcome. Milligan Obj. 16.

      a. Unifying the Black Belt

      The 2023 Plan rectifies what Plaintiffs said was wrong with the 2021 Plan. In

the 2021 Plan, “the Black Belt [was] split into four Congressional districts” as it had

been in past plans. See Singleton, 582 F. Supp. 3d at 1014. Plaintiffs responded with



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illustrative plans “contain[ing] the overwhelming majority of the Black Belt in just

two districts.” Id. They argued that “splitting [the Black Belt] into as few districts as

possible should be the priority over keeping the Gulf Coast counties together….” Id.

at 1012. And they faulted the State for splitting Montgomery, one “of the State’s

principal majority-Black communities of interest.” Milligan Appellees’ Br. 1.

      The 2023 Plan is the answer to that challenge. Departing from past redistrict-

ing plans, the 2023 Plan puts all 18 counties that make up the Black Belt entirely

within Districts 2 and 7. Montgomery is kept whole in District 2, and unlike in Plain-

tiffs’ new remedial map, not a single Black Belt county—core or otherwise—is split

between two districts. Supra pp. 16-19. Of the additional five counties that are

“sometimes” added to the definition of the Black Belt, four are kept whole in District

7. See id.; Singleton, 582 F. Supp. 3d at 953. Only the fifth, Escambia County, is in

District 1, as necessary for contiguity and population equality. Supra pp. 17-18.

      b. Keeping the Gulf Coast and Wiregrass regions together

      There can be no dispute that the 2023 Plan’s stated goal of keeping the Gulf

Coast together and the Wiregrass region together is a legitimate one, and § 2 does

not (and cannot) require the State to disregard that legitimate race-neutral purpose

in redistricting. Allen, 143 S. Ct. at 1510. For Plaintiffs’ plans to pass muster under

the first Gingles precondition, it is “important that at least some of [them] respect”




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communities of interest “at least as well as Alabama’s redistricting plan.” See id. at

1518 n.2 (Kavanaugh, J., concurring).

      i. The Gulf Coast is “indisputabl[y] a community of interest” as the principal

dissent in Allen observed. 143 S. Ct. at 1526. Although the majority opinion was not

persuaded that the Gulf was a community of interest on the preliminary injunction

record for the 2021 Plan, id. at 1505, that doubt cannot bind the State in the creation

of a new redistricting plan based on a new legislative record. See Camenisch, 451

U.S. at 394-96; see also supra pp. 29-30. Both the legislative record before the 2023

Legislature and the evidentiary record before this Court robustly support the Legis-

lature’s long-running recognition of the Gulf as a community of interest.

      As the 2023 Act explains, the “Gulf Coast community has a shared interest in

tourism, which is a multi-billion-dollar industry,” “has a distinct culture stemming

from its French and Spanish colonial heritage,” “is home to major fishing, port, and

ship-building industries” and an “economic hub” that delivers “$85,000,000,000[]

in economic value to the state” and “313,000 jobs each year,” and depends on federal

appropriations and cooperation. See Ala. Code § 17-14-70.1(4)(d)(f)(1)-(10).

      The community revolves around Mobile Bay, the intercoastal waterway be-

tween Mobile and Baldwin Counties. Ex. M (Declaration of Lee Lawson) ¶6. I-10,

I-65, and Highway 98 allow 60,000 residents of Baldwin and Mobile Counties to

commute to each other’s counties for work every single day. Id. ¶5. A full quarter of



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Baldwin County’s workforce is employed in Mobile. Id. ¶8. And Mobile businesses

train their employees in Baldwin too. Id. ¶9. Baldwin residents often go to Mobile

for shopping, healthcare, or even Mardi Gras. Id. ¶¶11, 13. With all the traffic from

tourists and locals, the region hopes for billions in federal funding for a Bayway

Bridge project. Ex. N (Lagniappe “ALDOT says new bridge and Bayway are finan-

cially viable”); see Ex. M ¶5.

       Mobile is home to a large university, the University of South Alabama (USA),

and it draws its students from the Gulf Coast region. Ex. M ¶12; Ex. O (University

of South Alabama: A Brief History). Fourteen of USA’s fifteen “top feeder high

schools” are located in the city of Mobile, Mobile County, and Baldwin County.9

Given all this, residents in the Gulf Coast community unsurprisingly watch Mobile

news and read Mobile papers. Ex. M ¶10; Ex. P (Lagniappe About Us).

       For 50 years, the area has been a “community of interest” for purposes of

establishing a regional planning commission. Ex. I at 4. Democratic State Repre-

sentative Adline Clarke from Mobile couldn’t have said it better: “I consider Mobile

and Baldwin counties one political subdivision and would prefer that these two Gulf

Coast counties remain in the same congressional district because government, busi-

ness and industry in the two counties work well together—with our congressman—


9
  Fact Book 2022-2023, Sources of Entering Freshman, Office of Institutional Research, Univer-
sity    of    South    Alabama,        https://www.southalabama.edu/departments/institutionalre-
search/factbook2223/ (click table 2.4).

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for the common good of the two counties.” Ex. D. Likewise, the three-judge district

court in 1992 found that a District 1 encompassing the Gulf “preserves … commu-

nities of interest in” that district. Wesch v. Hunt, 785 F. Supp. 1491, 1497 (S.D. Ala.

1992).

       Despite that evidence, the Milligan Plaintiffs suggest (though never defini-

tively declare) that the Gulf isn’t really a community of interest. Milligan Obj. 16-

17.10 Instead, they contend that some parts of Mobile County have more in common

with the Black Belt than with Baldwin County. Jones Decl. (Milligan Doc. 200-9)

¶5. But Plaintiffs’ own evidence suggests that there is at least a distinct nonracial

community of interest in Mobile that their proposal to the Legislature would have

split along race-based lines. Id. ¶6; cf. Milligan Appellees’ Br. 33 (attacking the 2021

Plan for splitting Montgomery County, “an important community of interest”).

While the Black Belt is characterized by “limited employment opportunities,” Jones

Decl. ¶7, “Mobile is the economic hub of South Alabama, in large part because of

the Port of Mobile.” Id. ¶6. With “[t]imber processing, shipbuilding, aerospace en-

gineering, manufacturing, chemical developers, and companies from other … within

Mobile County,” the Mobile community is defined in part by its economic




10
   For their part, the Caster Plaintiffs rely almost entirely on the previous record-based findings of
this Court. Caster Obj. 9-10. In doing so, they fail to account for the evidence before this Court
that allowed the Legislature to (1) conclude that the Gulf and Wiregrass regions form communities
of interest and (2) give those communities effect in new legislation.

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opportunity. Id.; accord Ala. Code §17-14-70.1(4)(f)(5) (“The Port of Mobile is the

economic hub for the Gulf counties.”). And that nonracial community of interest is

divided in Plaintiffs’ plans but not the 2023 Plan.

       Moreover, the Milligan Plaintiffs concede that both Gulf counties “celebrate

Mardi Gras,” Jones Decl. ¶12, evidencing the shared cultural heritage that the Leg-

islature found supported the Gulf community of interest,11 see Ala. Code §17-14-

70.1(4)(f)(9); see id. (“Mardi Gras is observed as a state holiday only in Mobile and

Baldwin Counties (citing Ala. Code §1-3-8(c) (1975)). They concede that the Uni-

versity of South Alabama has campuses in both counties. See Ala. Code §17-14-

70.1(4)(f)(7); Bagley Decl. 6 (Milligan Doc. 200-15) (writing off this fact because

“its student enrollment was 60 percent white and 22 percent Black”). They concede

that “Mobile and Baldwin Counties also work together as part of the South Alabama

Regional Planning Commission, a regional planning commission recognized by the

state for more than 50 years.” Ala. Code §17-14-70.1(4)(f)(10); Bagley Decl. 6.

They concede that thousands of direct jobholders of the Port of Mobile live in Bald-

win County. Ala. Code §17-14-70.1(4)(f)(6); Bagley Decl. 5. And they concede that

both counties currently have a shared interest in Gulf-related tourism. Compare Ala.




11
  The declaration deflects the obvious conclusion that the Gulf has a shared culture with the un-
remarkable observation that some people in Mobile tend to celebrate Mardi Gras in Mobile, and
not in Baldwin County. ¶12. But see Ex. M ¶ 13 (Baldwin County resident who celebrates Mardi
Gras in Baldwin and Mobile Counties).

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Code §17-14-70.1(4)(f)(2) (“Over the past half-century, Baldwin and Mobile Coun-

ties have grown even more alike as the tourism industry has grown and the develop-

ment of highways and bay-crossing bridges have made it easier to commute between

the two counties.”), with Bagley Decl. 5 (“But the idea of the region as a whole being

a tourist destination is a relatively recent phenomenon.”).

      As there is no credible claim that the 2023 Plan deserves heightened scrutiny,

see infra Part IV, this Court should give the Legislature the deference courts ordi-

narily give to legislative factfinding. Cf. Minnesota v. Colver Leaf Creamery Co.,

449 U.S. 456, 464 (1981) (In the Equal Protection Context, “States are not required

to convince the courts of the correctness of their legislative judgments. Rather, ‘those

challenging the legislative judgment must convince the court that the legislative facts

on which the classification is apparently based could not reasonably be conceived to

be true by the governmental decisionmaker.’” (emphasis added)). Doing so comports

with the Supreme Court’s recognition that the “districting decision is one that ordi-

narily falls within a legislature’s sphere of competence,” Easley v. Cromartie, 532

U.S. 234, 242 (2001), and that States enjoy broad discretion when making political

judgments in districting. See Miller, 515 U.S. at 915 (“the States must have discre-

tion to exercise the political judgment necessary to balance competing interests”).

      A paid expert cannot supersede legislative findings, especially where, as here,

the expert’s opinions are based on a selective retelling of facts that were before the



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Legislature. In any event, as noted above, Dr. Bagley confirms numerous key find-

ings, responding to many of them only with an apparent critique that white people

live in the Gulf too. See Bagley Decl. 5 (noting that “three local tourism boards (Gulf

Shores and Orange Beach Tourism, Visit Mobile, South Mobile County Tourism

Authority), four chambers of commerce (Coastal Alabama Business Chamber, South

Baldwin County Chamber of Commerce, North Baldwin Chamber of Commerce,

and the Eastern Shore Chamber of Commerce), and the City of Foley” have been

partnering for a decade, but noting that many of the people on the Board of the joint

venture “are … white”); id. at 6 (recognizing a regional planning commission

through which Mobile, Baldwin, and Escambia Counties “work together,” but noting

there are “only three … Black” members of the board of directors). The Gulf is a

community of interest.

      ii. Likewise, the 2023 Plan has the stated purpose of keeping the Wiregrass

region together to the fullest extent possible. All nine Wiregrass counties are kept

whole in District 2, except for Covington County, a portion of which is necessarily

split between Districts 1 and 2 to allow District 1 to meet equal population and con-

tiguity requirements without splitting a Black Belt county or moving other Black

Belt counties out of the western Black Belt district.

      The Wiregrass region is a community of interest. As Dothan’s former mayor

emphasized during his July 13 testimony, it is critical that the region remains



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together to “protect Fort Novosel and Maxwell Air Force Base and to help the com-

munities throughout the Wiregrass continue to thrive economically.” Ex. Q (Decla-

ration of Mike Schmitz) ¶¶2, 5.

       “[T]he Wiregrass is a rural area in the southeastern corner of the State[,]” Ex.

R (Declaration of Brad Kimbro) ¶5, that “is not served by interstate access or a major

airport” and does not have a large city rivaling Birmingham, Huntsville, or Mobile,

Ex. S (Declaration of Jeffrey V. Williams) ¶9. “Fort Novosel contributes more than

$1 billion to the Wiregrass’ economy.” Ex. Q ¶6; see also Ex. S ¶12; Ex. R ¶13.

“[S]oldiers access[] housing, healthcare, retail shopping, and services” in the Wire-

grass, and “various industries are located throughout the region to support the Fort

and its soldiers.” Ex. S ¶12. Agriculture and healthcare are additional major eco-

nomic drivers in the area. Ex. S ¶¶13-14; Ex. Q ¶9.

      Citizens residing in the Wiregrass consume the same media, see Ex. R ¶14,

and come together for annual festivals like Dothan’s Peanut Festival, Slocum’s To-

mato Festival, and Opp’s Rattlesnake Rodeo, id. ¶15.

      “Essentially, the Wiregrass is a community of small communities.” Ex. R ¶5.

It has thrived because leaders throughout those communities work together to sup-

port each other for the good of everyone. Ex. R ¶¶5-8, 10-12; Ex. Q ¶¶7-8. See also

Ex. S ¶¶7, 9, 16. Leaders in the Wiregrass are concerned about the possibility of

being broken apart and “los[ing] [their] voice” in the process. Ex. Q ¶10.



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                                          *

       The 2023 Plan applies the communities of interest principle fully and fairly to

remedy the “cracking” that Plaintiffs said was “the heart of” their challenge to the

2021 Plan. The Black Belt, Gulf, and Wiregrass communities are maintained to the

maximum extent possible. Thus, this is no longer a case in which “[t]here would be

a split community of interest in both” the State’s plan and Plaintiffs’ alternatives.

Allen, 143 S. Ct. at 1505. Plaintiffs will not be able to show that there is a plan on

par with the 2023 Plan that also creates an additional reasonably configured major-

ity-black district.

       c. Plaintiffs’ alternatives cannot match the 2023 Plan’s commitment to
          communities of interest.

       Plaintiffs have argued all along that “splitting [the Black Belt] into as few

districts as possible should be [a] priority,” and the 2023 Plan does that. Singleton,

582 F. Supp. 3d at 1012. But now that the State has done so, Plaintiffs take a new

tack: they contend that the State didn’t unify the Black Belt into two congressional

districts the right way, by joining the historic Black Belt counties with other black

voters outside the Black Belt from the Gulf and Wiregrass communities of interest.

Milligan Obj. 17 (“But SB5 splits the Black Belt between two districts in a way that

minimizes the voting power of Black voters in CD 2[.]”) The Legislature can split

the Gulf and Wiregrass because, in the Milligan Plaintiffs’ minds, they are “major-

ity-white communities.” Milligan Obj. 20. That crosses constitutional lines.

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      For the same reasons, the Court must reject Plaintiffs’ new concept of “invio-

lable” communities of interest. Milligan Obj. 17; Bagley Decl. (Milligan Doc. 200-

15) 1, 9. That novel theory is contrary to settled law that the Legislature is permitted

to maintain nonracial communities of interest consistent with traditional districting

principles, see Bush v. Vera, 517 U.S. 963, 977 (1996), so long as that does not come

at the cost of unjustifiably splitting another nonracial community of interest in a way

that creates discriminatory results on account of race, Allen, 143 S. Ct. at 1505-06.

Accordingly, the Court ought not ask whether the Gulf should be split to increase

the concentration of black voters in District 2, as Plaintiffs would have it. The ques-

tion is instead whether Plaintiffs have shown that their districts respect nonracial

communities of interest “at least as well as Alabama’s redistricting plan.” See Allen,

143 S. Ct. at 1518 n.2 (Kavanaugh, J., concurring); accord Allen, 143 S. Ct. at 1505

(observing both plans would split a community of interest).

      Applied here, the Milligan Plaintiffs (at 17-18) suggest that “the Legislature

gives away the game” because “SB5 splits the Black Belt between two districts in a

way that minimizes the voting power of Black voters in CD 2 and splits the Wire-

grass between Districts 1 and 2,” and thus does not “fully honor[]” the Legislature’s

neutral criteria. And the Caster Plaintiffs go a step further (at 9-10), contending the

“communities of interest have no bearing on the only relevant question regarding the

plan,” which is whether it “create[s] two districts in which the state’s Black voters



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have an opportunity to elect a candidate of their choice.” The Court must reject these

arguments and put Plaintiffs to their burden of presenting an alternative that is on

par with the Legislature’s treatment of not just one but three recognized communities

of interest. See Abbott, 138 S. Ct. at 2324-25.

      As an initial matter, with respect to Plaintiffs’ critique of the Black Belt, no

one contests that the Black Belt must be placed into at least two districts. It is not

possible to put all Black Belt counties into one congressional district without violat-

ing the federal constitutional requirement of population equality. Supra p. 16; see

Wesberry v. Sanders, 376 U.S. 1 (1964). None of Plaintiffs’ illustrative plans in the

earlier preliminary injunction proceedings put the Black Belt into fewer than two

districts. See Allen, 143 S. Ct. at 1528 (Thomas, J., dissenting) (explaining that “the

entire black population of the Black Belt … is too small to provide a majority in a

single congressional district, let alone two”).

      And to the extent that Plaintiffs mean to suggest that the Black Belt must be

defined by more than its historical boundaries—reaching out to grab voters by race

alone in counties that lie beyond even the “sometimes” Black Belt—that contradicts

this Court’s and the Supreme Court’s earlier decision. As this Court explained, “the

reasons why [the Black Belt] is a community of interest have many, many more

dimensions than skin color.” Singleton, 582 F. Supp. 3d at 1014. Plaintiffs’ earlier

proposals to keep that “historic feature” of the State together were deemed not to be



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race predominant because that community of interest was “defined by its ‘historical

boundaries’—namely, the group of ‘rural counties plus Montgomery County in the

central part of the state.” Allen, 143 S. Ct. at 1511 n.5. But fully promoting this

nonracial community of interest does not require combining it with some other set

of voters beyond those “historical boundaries” based on their skin color. Id. Plain-

tiffs’ argument that Black Belt districts must extend beyond those boundaries is not

a valid or constitutional basis for rejecting the 2023 Plan.

       Next, with respect to the Wiregrass, Plaintiffs offer the overstated and mis-

leading critique that the 2023 Plan “splits the Wiregrass.” Milligan Objections at 17.

The argument is overstated because only one portion of one Wiregrass county (Cov-

ington) is not fully within District 2. And the argument is misleading because that

split was necessary to balance population in District 1 without taking additional

Black Belt counties out of District 7. See Ala. Code § 17-14-70.1(4)(g)(3) (“All of

the Wiregrass counties are included in District 2, with the exception of Covington

County, which is placed in District 1 so that the maximum number of Black Belt

counties can be included within just two districts.”). It’s a surprise that Plaintiffs

aren’t championing this choice in the Wiregrass as a way of avoiding “preserv[ing]

one set of communities of interest—most or all of which are majority white—at the

expense of respecting majority-Black communities of interest like the Black Belt.”

Milligan Doc. 94 at 15. In the end, if Plaintiffs’ claim were about anything other than



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securing two safe Democratic congressional districts, Plaintiffs would be celebrating

that feature of the 2023 Plan, not assailing it.

      More fundamentally, Plaintiffs’ critique of the Wiregrass ignores how their

alternatives would dismantle that community of interest. Plaintiffs’ plan proposed to

the Legislature would have split the Wiregrass in half. Their alternative placed some

or all of five Wiregrass counties (Coffee, Dale, Geneva, Houston, and Covington)

into District 1, joining those counties with the predominantly white part of Mobile

County that Plaintiffs opted to leave in District 1. Supra p. 14. There is no argument

that their dismantling of the Wiregrass maintains that community of interest.

      What remains of the Milligan Plaintiffs’ critique about the 2023 Plan’s com-

munities of interest approach echoes the Caster Plaintiffs: the 2023 Plan “splits the

Black Belt between two districts in a way that minimizes the voting power of Black

voters in CD 2.” Milligan Obj. 17; Caster Obj. 1. Plaintiffs thus contend that the

Legislature was required to adopt legislation that sacrifices the Gulf and the Wire-

grass to increase the concentration of black voters in districts containing, but not

limited to, the historic Black Belt counties. That argument is one not about splitting

the “historical boundaries” of the Black Belt. See Allen, 143 S. Ct. at 1511 n.5. That

again is contrary to the premise in Allen about why race did not predominate—treat-

ing the Black Belt as “a ‘historical feature’ of the State, not a demographic one.” Id.

It is a departure from Allen that would require a selective application of the



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communities of interest principle based on race. Allen said just the opposite was

required. Id. at 1505. A State need not (because it cannot) break up other “nonracial

communities of interest” like the Gulf and Wiregrass regions by “combin[ing] …

farflung segments of a racial group.” LULAC, 548 U.S. at 433 (emphasis added).

That isn’t “the opportunity that § 2 requires or that the first Gingles condition con-

templates,” id., and if it were, § 2 as applied here would be unconstitutional, see

infra Part III; e.g., Miller v. Johnson, 515 U.S. 900, 919-20 (1995).

      In sum, the Court must reject Plaintiffs’ demands that the State violate its tra-

ditional districting principle of keeping not one but three communities of interest

together, neutrally applied to voters of all races. Section 2 “‘never requires adoption

of districts that violate traditional redistricting principles.’” Allen, 143 S. Ct. at 1510

(quoting Caster Respondents Br. 3). Nor can race be the criterion that “‘could not

be compromised,’” allowing “race-neutral considerations [to] ‘c[o]me into play only

after the race-based decision has been made.’” Bethune-Hill v. Va. State Bd. of Elec-

tions, 580 U.S. 178, 189 (2017) (quoting Shaw v. Hunt, 517 U.S. 899, 907 (1996)

(Shaw II))). Splitting communities of interest because they are too white unambigu-

ously violates the Constitution. See infra Part III.

      2. Compactness and county splits in the 2023 Plan

      Plaintiffs’ § 2 challenge to the 2023 Plan also fails because each of Plaintiffs’

alternative maps fails to match the 2023 Plan on compactness, county splits, or both.



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      A State cannot reject a more compact plan in exclusively racial terms, Bush,

517 U.S. at 969, lest race become the criterion that cannot be compromised, Bethune-

Hill, 137 S. Ct. at 189. So too here—a Plaintiff cannot advocate for a less compact

plan for exclusively racial reasons.

      It is no answer that the Plaintiffs adduced maps that satisfied the 2021 princi-

ples. Contra Milligan Obj. 15 (complaining that Plaintiffs’ maps “had been created

to comply with the 2021 redistricting guidelines”). Had their maps satisfied Califor-

nia’s principles, but not Alabama’s, that would do little to advance this intensely

local appraisal. Likewise, evidence about the 2021 Plan based on its 2021 principles

does not shine light on whether the 2023 Plan has discriminatory effects.

      Turning to the numbers, defense expert Sean Trende assessed the 2023 Plan

and each of Plaintiffs’ alternative plans based on the three compactness measures

Dr. Duchin used in her earlier report. See Milligan Doc. 68-5 at 9. Across all three

metrics (Reock, Polsby-Popper, and Cut Edges), the 2023 Plan measures as more

compact than Duchin Plans A, C, and D and Cooper Plans 1-7. Ex. L at 9-11. On

Reock, the 2023 Plan beats every Plaintiff plan. On Cut Edges, the 2023 Plan beats

all Plaintiff-proposed plans except the Plaintiffs’ Remedial Plan, which it ties, and

Duchin Plan B. Id. at 11. And on Polsby-Popper, the 2023 Plan beats every Plaintiff-

proposed plan except Duchin Plan B, which is essentially a tie. Id. at 10. Duchin

Plan B’s overall compactness doesn’t tell the entire story; her restructuring of



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Districts 4 and 5 mask her “distended” District 1, which is less compact than the

2023 Plan’s least compact district. Compare id. at 9-10, with Singleton, 582 F. Supp.

3d at 965 (Dr. Duchin “testified that the least compact districts in her plans—Dis-

tricts 1 and 2—were ‘comparable to or better than the least compact districts’ in …

the [2021] Plan”).

       The only plans that the 2023 Plan doesn’t beat across all three compactness

measures still fail under Allen because they have more county splits than the 2023

Plan.12 See id. at 16. The 2023 Plan splits only six counties.13 Id. at 16. Duchin Plan

B and the Plaintiffs’ Remedial Plan both have seven county splits (including three

splits in majority-black District 2). Id. Duchin Plan C and Cooper Plans 2 and 6 also

have more county splits than are necessary. Id. Worse, many of the gratuitous county

splits occur along racial lines, in service of hitting a racial target. Bryan Rep. at 33-

34 (showing how the Plaintiffs’ Remedial Plan disproportionately splits Mobile, Jef-

ferson, Tuscaloosa, Houston, and Clarke Counties).These plans thus fail at Gingles

1 because they fail to “respect [compactness or] county lines at least as well as [the

2023] plan.” Allen, 143 S. Ct. at 1518 (Kavanaugh, J., concurring).




12
   County splits are distinct from split counties. Ex. L at 16. For example, Duchin Plan D has five
split counties (Limestone, Jefferson, Shelby, Russell, and Mobile) but has six county splits because
Jefferson is split twice.
13
   Cooper Plan 7 is only able to have five county splits because it does not have minimal population
deviation. Caster Doc. 65 at 5.

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      Because several of their plans have gratuitous county splits, the Milligan

Plaintiffs argue that the “2021 guidelines … do not set an arbitrary ceiling” on splits.

Milligan Obj. 16. But Alabama’s principle isn’t arbitrary because “six splits of

county lines” “is the minimum number necessary to achieve minimal population de-

viation among the districts,” and that principle is given effect in the 2023 Plan. Ala.

Code §17-14-70.1. The only plans from Plaintiffs that meet that standard fall short

on compactness. So each of Plaintiffs’ plans fails to match the 2023 Plan on county

splits, compactness, or both.

                                           *

      Plaintiffs cannot substitute an alternative plan in place of the State’s enacted

2023 Plan without establishing that the 2023 Plan itself violates the Voting Rights

Act. For Plaintiffs to even begin to do so, they must identify an alternative that does

at least as well as the 2023 Plan on the traditional redistricting principles blessed in

Allen. They cannot. Their plans sacrifice communities of interest, compactness, and

county splits to hit predetermined racial targets. That “intensely local appraisal” of

the 2023 Plan, as compared to Plaintiffs’ alternatives, should end this case. If Plain-

tiffs’ underperforming plans could be used to replace a 2023 Plan that more fully

and fairly applies legitimate principles across the State, the result will be court-or-

dered enforcement of a map that violates the 2023 Plan’s traditional redistricting

principles in favor of race. Such affirmative action in redistricting would be



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unconstitutional, see infra, which is one reason why “§ 2 ‘never require[s] adoption

of districts that violate traditional redistricting principles.’” Allen, 143 S. Ct. at 1510.

III.      Constitutional Avoidance Compels Rejection of Plaintiffs’ Understand-
          ing of an Equal Opportunity District.

          Plaintiffs repeatedly acknowledged at the Supreme Court that a VRA-compli-

ant plan does not have to hit a racial target of 50% BVAP at the remedial stage,14

and they’re correct about that. See Shaw v. Hunt (Shaw II), 517 U.S. 899, 917 n.9

(1996) (“a § 2 plaintiff” does not have “the right to be placed in a majority-minority

district once a violation is shown” because “States retain broad discretion in drawing

districts to comply with the mandate of § 2”). The very lesson of Cooper v. Harris,

581 U.S. 285 (2017), was the peril of targeting 50% BVAP in the creation of dis-

tricts, even if for the purpose of VRA compliance. Applied here too, any § 2 remedy

“must be consistent with the Constitution.” See Tex. Dep’t of Hous. & Cmty. Affs. v.

Inclusive Communities Project, Inc., 576 U.S. 519, 544-45 (2015); see also Wisc.

Legislature, 142 S. Ct. at 1249-50 (rejecting remedial map for failure to satisfy strict

scrutiny). A remedy thus must ensure that districts are “equally open” without de-

volving into “competing racial factions” or assigning Americans to “creditor” and

“debtor” races or crafting majority versus minority “political homelands.” Shaw I,

509 U.S. at 657; Adarand Constructors, Inc. v. Pena, 515 U.S. 200, 239 (1995)



14
     See, e.g., Caster Respondents’ Br. at 26, 52-53; Milligan Appellees’ Br. at 44-45.

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(Scalia, J., concurring in part and concurring in judgment); Holder v. Hall, 512 U.S.

874, 905 (1994) (Thomas, J., concurring in judgment).

      Allen did not alter the principle that race cannot predominate in redistricting,

and that principle is especially serious here in these proceedings involving a plan

that will actually govern all voters of the State. As applied in Allen, a four-justice

plurality concluded that race did not predominate with respect to Mr. Cooper’s illus-

trative plan based on the shared understanding by this Court and the Supreme Court

that Mr. Cooper treated the Black Belt as a historic feature of the State, not an area

defined by demographics alone. Allen, 143 S. Ct. at 1511 & n.5. And the plurality

added that for purposes of Gingles 1, Plaintiffs were permitted to be “conscious[]”

of whether an illustrative plan’s district exceeded 50% BVAP. Id. at 1511-12. Justice

Kavanaugh did not join that portion of Allen, and the dissent concluded that “it is

impossible to conceive of the State adopting the illustrative maps without pursu-

ing … racially motivated goals.” Id. at 1527 (Thomas, J., dissenting).

      Neither of the Allen plurality’s rationales, affirming this Court’s, could now

justify concluding the 2023 Plan is not “equally open” and replacing the 2023 Plan

with Plaintiffs’ preferred alternatives that elevate the Black Belt’s demographics

over its historical boundaries. That would impose on Alabama voters a plan in which

race predominates. Discussed above (at Part II), Plaintiffs’ proposed alternative to

the Legislature fares worse on the race-neutral, traditional criteria embodied in the



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2023 Plan and described in Ala. Code § 17-14-70.1(3)(g). This shows that respecting

traditional principles like “communities of interest … came into play only after the

race-based decision had been made.” Shaw II, 517 U.S. at 907.

      A remedial plan like the ones Plaintiffs propose would therefore “‘subordi-

nate[]’ other factors … to ‘racial considerations.’” See Cooper, 581 U.S. at 291. That

remains true “even if” the remedy “elevate[s] race” over keeping communities of

interest together “in order to advance other goals, including political ones” like giv-

ing Democrats a better chance of winning in a second district. See id. at 291 & n.1.

And it remains true even though Plaintiff-style remedial maps do not “entirely ne-

glect[]” “[t]raditional districting criteria.” See Bush, 517 U.S. at 963; see also Be-

thune-Hill, 580 U.S. at 190 (2017) (“a conflict or inconsistency between the enacted

plan and traditional redistricting criteria is not a threshold requirement or a manda-

tory precondition in order for a challenger to establish a claim of racial gerryman-

dering”). “The fact that other considerations may have played a role in the [Plain-

tiffs’ maps] does not mean that race did not predominate.” Clark v. Putnam County,

293 F.3d 1261, 1270 (11th Cir. 2002). “If the line-drawing process is shown to have

been infected by such a deliberate racial purpose, strict scrutiny cannot be avoided

simply by demonstrating that the shape and location of the districts can rationally be

explained by reference to some districting principle other than race,” id.




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      Under the Constitution, all race-based government action must satisfy strict

scrutiny. Students for Fair Admissions, Inc. v Pres. & Fellows of Harvard College,

143 S. Ct. 2161-62 (2023). Redistricting is not an exception to the rule. See Shaw v.

Reno (Shaw I), 509 U.S. 630, 657 (1993). “Under the Equal Protection Clause, dis-

tricting maps that sort voters on the basis of race are by their very nature odious.”

Wisc. Legislature, 142 S. Ct. at 1248 (cleaned up). “This is true whether or not

the … purpose [is] remedial.” Shaw v. Hunt (Shaw II), 517 U.S. 899, 905 (1996).

Because “the Equal Protection Clause restricts consideration of race and the VRA

demands consideration of race,” a remedial order requiring consideration of race

must satisfy strict scrutiny. See Abbott, 138 S. Ct. at 2315. Accordingly, any remedy

here must be narrowly tailored to further compelling governmental interests. See

Harvard, 143 S. Ct. at 2162.

      “Forcing proportional representation is” not a compelling governmental inter-

est, id. at 1509, and here, Plaintiffs demand even more, arguing that § 2 requires that

28.5% of the State’s districts have majority-black voting age population, though only

25.9% of the State’s voting age population is black. But see De Grandy, 512 U.S. at

1016 (“substantially proportional” districts generally suggests no § 2 liability). This

approach of sacrificing neutral principles to race is “unlawful and inconsistent with

th[e] Court’s approach to implementing § 2.” Allen, 143 S. Ct. at 1509.




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      Plaintiffs thus cannot meet strict scrutiny. There are “only two compelling

interests that permit resort to race-based government action”: (1) measures necessary

to avoid “imminent and serious risks to human safety” or (2) measures necessary to

“remediat[e] specific, identified instances of past discrimination.” Harvard, 143 S.

Ct. at 2162. The first is inapplicable in districting. And the kind of race-based rem-

edies Plaintiffs request here are not meant to “remediat[e] specific, identified in-

stances of past discrimination.” See id. “[G]eneralized assertion[s] of past discrimi-

nation in a particular … region” are “not adequate,” for “an effort to alleviate the

effects of societal discrimination is not a compelling interest” to justify a redistrict-

ing plan that sorts voters on the basis of race, as Plaintiffs’ alternatives do when

compared to the 2023 Plan. Shaw II, 517 U.S. at 909.

      To be sure, the Supreme Court has assumed without deciding that compliance

with § 2 is a compelling interest. See, e.g., Abbott, 138 S. Ct. at 2315.15 But if Plain-

tiffs reading of § 2 were correct, then that assumption would have to be rejected. See

Allen, 143 S. Ct. at 1538-39 (Thomas, J., dissenting) (“The Constitution is supreme

over statutes, not vice versa.”). “[C]ompliance with federal antidiscrimination laws

cannot justify race-based districting” if, as here, the “application of those laws” is

unconstitutional. See Miller, 515 U.S. at 921. And, separately, adopting Plaintiffs’



15
  “Such assumptions are not holdings.” Brown v. Electrolux Home Prod., Inc., 817 F.3d 1225,
1239 (11th Cir. 2016).

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arguments about what § 2’s requires in this challenge to the 2023 Plan would con-

travene two equal protection principles: the principle that race can never be used as

a negative or operate as a stereotype and the principle that race-based action can’t

extend indefinitely into the future.

      1. The Constitution prohibits race used “as a stereotype or negative.” Harvard,

143 S. Ct. at 2166 (emphasis added). Plaintiffs’ application of Section 2 would fail

“th[ose] twin commands of the Equal Protection Clause.” Id. at 2168. First, Plain-

tiffs’ alternatives treat black and white Alabamians as communities—inviolable and

violable, respectively—based on their race. See supra pp. 48-49. And they presume

that the 2023 Plan should be rejected because it doesn’t make it easy enough to elect

a second Democratic congressperson. See supra pp. 21-22. Those assumptions im-

permissibly “reinforce the perception that members of the same racial group—re-

gardless of their age, education, economic status, or the community in which they

live—think alike, share the same political interests, and will prefer the same candi-

dates at the polls.” Shaw I, 509 U.S. at 647 (emphasis added). Subordinating two

“nonracial communities of interest” to the goal of a second majority-black district

indulges that “prohibited assumption” about voters in that district. See LULAC, 548

U.S. at 416; see also Miller, 515 U.S. at 919-20. “Even if a measure of truth can be

found in some of the [racial] stereotypes used to justify [race]-based” districting

maps, “that fact alone cannot support discrimination on the basis of” race. See J.E.B.



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v. Alabama ex rel. T.B., 511 U.S. 127, 140 n.11 (1994). In short, applying § 2 to

compel redistricting that “assign[s] voters on the basis of race,” where an alternative

plan compliant with § 2 does not, requires the State to “engage[] in the offensive and

demeaning assumption that voters of a particular race, because of their race, ‘think

alike, share the same political interests, and will prefer the same candidates at the

polls.’” Id. at 911-12. If § 2 requires that result here, then the Constitution forbids it.

      Second, adopting a map like the ones Plaintiffs propose would require using

race as a “negative.” Explained above, Plaintiffs’ remedies sort voters on the basis

of race to hit a predetermined racial target. See supra pp. 13-15, 44-49. To hit the

target, Plaintiffs would break up communities of interest and expel people from their

districts, all because of race. See supra 44-49. That’s nothing a State could do. See

Harvard, 143 S. Ct. at 2169; Shaw II, 517 U.S. at 907 (State can’t elevate race above

neutral criteria like “respecting communities of interest and protecting … incum-

bents”). Maps like the ones Plaintiffs propose would also create majority-minority

districts “in greater numbers than they otherwise would have been” if race hadn’t

been used. Cf. Harvard, 143 S. Ct. at 2169. But the Constitution forbids using race

“to discriminate against those racial groups that were not the beneficiaries of the

race-based preference.” Id. at 2165.

      2. Plaintiffs’ view of required § 2 remedies would also require race-based re-

districting indefinitely into the future. The Constitution would not tolerate that



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either. In Harvard, the Supreme Court affirmed that “race-based” affirmative action

in education “[at] some point … must end,” Harvard, 143 S. Ct. at 2165-66, 2170-

73, based on “the equal protection principle that racial classifications, even when

otherwise permissible, must be a temporary matter, and must be limited in time,” as

the concurring opinion described it, id. at 2200 (Kavanaugh, J., concurring); accord

Bd. of Educ. v. Dowell, 498 U.S. 237, 247-48 (1991) (describing supervision as a

“temporary measure” that did not “operate in perpetuity”). The principle applies

“even if a racial classification is otherwise narrowly tailored to further a compelling

governmental interest.” Harvard, 143 S. Ct. at 2200. (Kavanaugh, J., concurring).

Likewise in Allen, Justice Kavanaugh observed that “remediating specific, identified

instances of past discrimination,” id. at 2162, may have justified race-based redis-

tricting in 1982. But “even if Congress in 1982 could constitutionally authorize race-

based redistricting under § 2 for some period of time, the authority to conduct race-

based redistricting cannot extend indefinitely into the future.” 143 S. Ct. at 1519

(Kavanaugh, J., concurring) (citing id. at 1543-44 (Thomas, J., dissenting)). The al-

ternative would elevate a statutory remedy for old violations of the Constitution

above the Constitution itself. See Shelby County v. Holder, 570 U.S. 529, 557 (2013)

(“[W]hile any racial discrimination in voting is too much, Congress must ensure that

the legislation it passes to remedy that problem speaks to current conditions.”).




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      So too here, if Plaintiffs’ view of Section 2 liability and required remedies

prevails. Plaintiffs’ view of Section 2 liability depends on stereotypes about how

minority citizens vote as groups, see supra pp. 58-59, and not on identified instances

of past discrimination. That approach will “effectively assure that race will always

be relevant and that the ultimate goal of eliminating race as a criterion will never be

achieved.” See Harvard, 143 S. Ct. at 2172 (cleaned up). All that’s left to justify

Plaintiffs’ race-based affirmative action in redistricting are arguments about “past

societal discrimination,” but perpetuating present-day race-based redistricting to re-

dress past race-based discrimination violates “both the letter and spirit of a constitu-

tional provision whose central command is equality.” Croson, 488 U.S. at 505-06.

If Plaintiffs’ view of Section 2 is correct, there’s no “logical end point” to Section

2’s race-based requirements. See Harvard, 143 S. Ct. at 2165, 2170. All the more

reason why the Court “must rigorously apply the ‘geographically compact’ and ‘rea-

sonably configured’ requirements” described above and conclude that Plaintiffs

have not shown that the 2023 Plan likely violates Section 2. Allen, 143 S. Ct. at 1518

n.2 (Kavanaugh, J., concurring).

IV.   Plaintiffs’ Cursory Equal Protection Argument Should Be Rejected.

      Finally, the Milligan Plaintiffs implausibly suggest that it violates the Equal

Protection Clause. Milligan Obj. 18-21. If a plaintiff were to file a complaint against

the 2023 Plan, he would have to plausibly allege intentional discrimination to



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survive a motion to dismiss. See Ashcroft v. Iqbal, 556 U.S. 662, 676 (2009) (“[T]he

plaintiff must plead and prove that the defendant acted with discriminatory pur-

pose.”). Here, the Milligan Plaintiffs don’t even do that in their brief. They allege

instead that the 2023 Plan “may be the product of intentional racial discrimination.”

Milligan Obj. 18 (emphasis added).

      What’s more, the Milligan Plaintiffs’ theory—that the 2023 Plan is racially

discriminatory “regardless of whether the ultimate purpose is racial, political, or oth-

erwise,” Milligan Obj. 18—has long since been foreclosed by binding precedent.

“[P]urposeful discrimination requires more than” just “awareness of consequences,”

it instead requires a decisionmaker to take “a course of action ‘because of, not merely

in spite of, the action’s adverse effects upon an identifiable group.” Iqbal, 556 U.S.

at 676-77 (quoting Personnel Adm’r of Mass. v. Feeney, 442 U.S. 256, 279 (1979))

(cleaned up) (emphasis added). The Milligan Plaintiffs’ acknowledgment that the

purpose of the 2023 Plan may have been “political[] or otherwise” on its face would

fail to even state a claim for intentional discrimination, let alone clear the high bar

of proving one.

      In any event, Plaintiffs rely on evidence that is plainly insufficient to rule out

an “‘obvious alternative explanation’” for the 2023 Plan: respect for communities of

interest. See Iqbal, 556 U.S. at 682; cf. ALBC v. Alabama, 231 F. Supp. 3d 1026,

1044 (M.D. Ala. 2017) (“When the plaintiffs proceed with only indirect evidence



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that race predominated and the design of a district can be explained by traditional

districting criteria, the plaintiffs have not satisfied their burden of proof.”). The al-

leged discriminatory impact in “the new CD 2,” Milligan Obj. 18, won’t cut it. See

Iqbal, 556 U.S. at 676-77; Greater Birmingham Ministries v. Secretary of State, 992

F.3d 1322 (11th Cir. 2021) (GBM) (absent an impact that is “‘unexplainable on

grounds other than race, … the Court must look to other evidence’”). Their passing

reference to Alabama’s “‘history’” of discrimination, Milligan Obj. 19, can’t over-

come “the presumption of legislative good faith,” Abbott, 138 S. Ct. at 2324-25; see

also League of Women Voters v. Fla. Sec’y of State (League II), 66 F.4th 905, 923

(11th Cir. 2023) (The Court “rejected the argument that ‘a racist past is evidence of

current intent.’”). They rely on the complaints of Democrats in the Legislature, Mil-

ligan Obj. 19, but that won’t do. See League II, 66 F.4th at 940 (“[T]he concerns

expressed by political opponents [about disparate impact on black voters] during the

legislative process are not reliable evidence of legislative intent.”). Nor can the hand-

ful of ambiguous political statements of a handful of legislators, Milligan Obj. 19-

20, satisfy their burden given “the presumption of good faith.” See League of Women

Voters v. Fla. Sec’y of State, 32 F.4th 1363, 1373 (11th Cir. 2022); see also League

II, 66 F.4th at 931-32 (“the explanatory value of an isolated statement would be

limited” because what “‘motivates one legislator … is not necessarily what moti-

vates scores of others’”); id. at 932 (“That the statement was made by the sponsor



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adds little to its significance.”). All that’s left to support the idea that the Legislature

“‘secretly intended’” to racially discriminate, GBM, 992 F.3d at 1324 & n.37, is

Milligan Plaintiffs’ complaint that Alabama chose districting principles to respect

communities of interest and that the Legislature instead should have split them up to

create a district based on race, Milligan Obj. 20-21.16 For the reasons explained

above, that would have been unconstitutional. See supra pp. 54-61.

                                        CONCLUSION

       The Court should deny Plaintiffs’ request for an injuncticon against enforce-

ment of the 2023 Plan.


                                           Respectfully Submitted,

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16
   The Milligan Plaintiffs (at 21) assert that LULAC found that similar efforts had the “mark of
intentional discrimination.” 548 U.S. at 440. But the mark in that case was intentionally moving a
minority group out of a district and into another after they were “poised to” oust the incumbent.
Id. at 438-40. Here, Plaintiffs want the State to intentionally move a minority group into a district
from another to oust the incumbent.

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                      CERTIFICATE OF SERVICE

     I hereby certify that on August 4, 2023, I filed the foregoing using the

Court’s CM/ECF system, which will serve all counsel of record.

                                   /s/ Edmund G. LaCour Jr.
                                   Counsel for Secretary Allen




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